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                    UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

ERIN SMITH

c/o Goodwin Weber PLLC                         *

267 Kentlands Blvd #250                        *

Gaithersburg, MD 20878                         *

        Plaintiff                              *

-vs-                                           *

                                               *       CASE NO: 1:21-CV-2170 (FYP)

TAYLOR F. TARANTO                     .        *

1311 N. Beech Ave.                             *

Pasco, WA 99301                                *

                                               *

        Defendant(s), Pro Se.                  *



                                          NOTICE OF FILING

                  Comes now, defendant, Taylor F. Taranto, pro se, in the above-captioned clause and
respectfully files this Standard Form 95.

Opposing Counsel has been properly notified.



                                               Respectfully submitted,


                                               /s/ Taylor F. Taranto

                                               Taylor F. Taranto, pro se

                                               Address: 1311 N. Beech Ave., Pasco, WA 99301

                                               Telephone: 509-430-2339

                                               Email: tft122@msn.com

                                               Defendant, pro se



                                                                           RECEIVED
                                                                                     11/14/2022
                                                                             Clerk, U.S. District & Bankruptcy
                                                                             Court for the District of Columbia
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Attachment:     BASIS OF CLAIM – SF 95           Taylor Taranto           filed 11/10/2022

I was hit in the head by a baton or other similar object inside the Capitol on January 6, 2021 by a Capitol
Police Officer or a Metropolitan Police Officer. It can be seen in a PDF analysis (“7-6-2022 -
Synchronized_Event_Tracking - Final.pdf” https://www.dropbox.com/scl/fi/nfkttjyu8qfu5rlwssslp/7-6-
2022-Synchronized_Event_Tracking-Final.pdf ) of several videos from that day which were analyzed by
Grant Fredericks, a paid “expert witness” in the case 1:21-cv-02170-FYP SMITH et al v. KAUFMAN et al.
The frames that show my injury are #857-874. Mr. Fredericks has marked me with a green arrow.




Frame 864 showing baton or other similar object hitting Taylor Taranto.
Image copied from 7-6-2022 - Synchronized_Event_Tracking - Final.pdf

I am seeking $14.50 for the 2 hours it took me to complete this federal form based under federal
minimum wage laws. I would like a written and public apology from the assaulting officer as I am
seeking to have my name cleared of any wrongdoing. I was at the Capitol on January 6th as a free press
agent, was not involved in destruction of property and was only assisting law enforcement in keeping
the peace at the time of my assault and subsequent evacuation of the Capitol. America deserves a
proper investigation into the events that took place at this time and location because I am trying to clear
my name and am also seeking an apology in a civil case that believes it is waiting upon federal criminal
charges against me to further pursue money from the federal government and/or me. Other parties
wish to stay their case in their own interests, but in my own, I wish to clear my name of substantial
damages because of the reckless claims against me.
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SUPPORTING DOCUMENTS:




Proof of neurology appointment to investigate migraines – determination of migraines with aura.
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Dr. notes from VA Dr. Hointink documenting requests for Neurology / Migraine treatment, Physical
Therapy, and Chiropractic for pain.




This SF95 has been filed with the Capitol Police Department and the Metropolitan Police Department
and the DC District Court.
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing was emailed this 11th day of November
2021,       to:    Hughie      Hunt       hhunt@kemethuntlaw.com;         Richard      Link,
richard.link@goodwinweberlaw.com, and David P. Weber, david.weber@goodwinweberlaw.com.


                                                 /s/ Taylor F. Taranto
                                                 TAYLOR F. TARANTO
